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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ASHLEY HARVEY, Individually and as               §
Next Friend of L. H., a Minor                    §
              Plaintiffs,                        §
                                                 §
v.                                               §      CASE NO. 2:18-cv-00164-JRG
                                                 §
CARTHAGE ISD, et al                              §
          Defendants.                            §

                                REPORT OF MEDIATION

       The above-captioned case was mediated by David Folsom on Monday, September 17,

2018, between Plaintiff, Ashley Harvey, Individually and as Next Friend of L. H., a Minor, and

Defendants, Carthage ISD, Otis Amy, Scott Surratt, and Dr. Joseph Glenn Hambrick. The

mediation session was unsuccessful.

       Signed this 18th day of September 2018.


                                                     /s/ David Folsom
                                                     David Folsom
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                              CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a) on this 18th day of September 2018. As such, this
document was served on all counsel who are deemed to have consented to electronic service.
Local Rule CV-5(a)(3)(A).

                                                     /s/ David Folsom
                                                     David Folsom
